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                                       COMMONWEALTH OF PENNSYLVANIA

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July 20, 2023

OVERNITE MAIL

Clerk
United States District Comt
South Carolina District
85 Broad Street
Charleston, SC 29401
843-579-1406

RE:     Aqueous Film-Forming Foams Products Liability Litigation,· MDL NO. 2-18-MN-2873-RMG; City of
        Camden, et al. v. 3M, Case No. 2:23-cv-03147-RMG

Dear Clerk of Court:

       On behalf of the Commonwealth of Pennsylvania, attached for filing in the above-captioned cases please
find a Notice of Joinder in Motion for Extension of Time and a Ce1tification of Service.

       The Commonwealth of Pennsylvania recently filed a complaint that is currently being transfened to the
above-referenced MDL. That case originated in the United States District Comt of Pennsylvania, Middle District
(Commonwealth of Pennsylvania et al v. EIDP, Inc. et al, Docket No. 1 :23-cv-0113 l 0JPW) where I am admitted
to practice. I filed a notice of appearance in that matter and thus, as per this Court's Case Management Order
No. 1, I am able to file in this MDL.

                                   Respectfully submitted,

                                   MICHELLE A. HENRY
                                   Attorney General
                                   Commonwealth of Pennsylvania



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                                   First Deputy Attorney General.
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